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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


                                        §
 IOENGINE, LLC,                         §
                                        §
       Plaintiff,                       §
                                        §
       v.                               §
                                        §       Civil Action No. 18-452-WCB
 PAYPAL HOLDINGS, INC.,                 §
                                        §
       Defendant.                       §
                                        §
                                        §
                                        §
 INGENICO INC.,                         §
                                        §
       Plaintiff,                       §
                                        §
       v.                               §
                                        §       Civil Action No. 18-826-WCB
 IOENGINE, LLC,                         §
                                        §
       Defendant.                       §
                                        §
                                        §
 ______________________________________ §
                                        §
 IOENGINE, LLC,                         §
                                        §
       Counterclaim Plaintiff,          §
                                        §
       v.                               §
                                        §
 INGENICO INC.,                         §
 INGENICO CORP., and                    §
 INGENICO GROUP, S.A.,                  §
                                        §
       Counterclaim Defendants.         §
 ______________________________________ §
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                           MEMORANDUM OPINION AND ORDER

        Before the Court are two motions to dismiss. The first, in case number 18-452, is the

 motion by defendant PayPal Holdings, Inc. (“PayPal”), to dismiss IOENGINE’s claims of joint

 infringement, indirect infringement, and willful infringement on the ground that the complaint fails

 to allege facts sufficient to plead plausible claims on each of those theories of liability. No. 1:18-

 cv-452, Dkt. No. 9.      The second, in case number 18-826, is the motion by the Ingenico

 counterclaim defendants (Ingenico Inc., Ingenico Corp., and Ingenico Group S.A.) to dismiss the

 counterclaims by IOENGINE, LLC, against Ingenico Group S.A. for lack of jurisdiction and to

 dismiss the counterclaims against all of the counterclaim defendants on the ground that the

 counterclaims lump the defendants together and fail to give fair notice to any of them. No. 1:18-

 cv-826, Dkt. No. 26.

        In the PayPal case, the Court grants PayPal’s motion to dismiss in part and denies it in part.

 With respect to IOENGINE’s theory of joint infringement, the Court holds that the complaint

 sufficiently alleges facts that plausibly state a claim for relief on that theory. With respect to

 IOENGINE’s theories of indirect infringement and willful infringement, the Court rules that the

 complaint pleads the requisite knowledge of the patents-in-suit from the date of the complaint.

 The Court rules that the complaint is otherwise sufficient to support IOENGINE’s theories of

 induced infringement and willful infringement, but that the complaint does not sufficiently allege

 contributory infringement.

        In the Ingenico case, the Court denies the motion to dismiss without prejudice, pending

 jurisdictional discovery. After jurisdictional discovery, the Ingenico counterclaim defendants will

 be permitted to renew their motion to dismiss Ingenico Group S.A. as a counterclaim-defendant in

 this action if they wish to do so, and the parties will be given an opportunity to file supplemental



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 briefs on the jurisdictional issues. A hearing on the jurisdictional issue will be held if the Court

 determines that it is necessary. As to the motion of the Ingenico counterclaim defendants to

 dismiss the counterclaims on the ground that it is unclear from the counterclaims what role each

 defendant is accused of playing in the alleged acts of infringement, the Court denies the motion.

                             I. PAYPAL’S MOTION TO DISMISS

        A. Joint Infringement

        PayPal moves to dismiss IOENGINE’s claims of joint infringement, contending that

 IOENGINE’s complaint includes no allegations of facts plausibly demonstrating that the acts of a

 third party are attributable to PayPal such that a single entity is responsible for the alleged

 infringement.

        Proof of joint infringement requires the plaintiff to show that one entity “directs or

 controls” the other’s performance, or that the actors “form a joint enterprise.” Eli Lilly & Co. v.

 Teva Parenteral Medicines, Inc., 845 F.3d 1357, 1364 (Fed. Cir. 2017) (quoting Akamai Techs.,

 Inc. v. Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc)). Proof that a

 defendant engaged in joint infringement by directing and controlling another party’s infringing

 conduct can be shown where the defendant “(1) ‘conditions participation in an activity or receipt

 of a benefit’ upon others’ performance of one or more steps of a patented method, and (2)

 ‘establishes the manner or timing of that performance.’” Eli Lilly, 845 F.3d at 1365 (quoting

 Akamai, 797 F.3d at 1023). Proof that a defendant was part of a joint enterprise with another party

 or group of parties requires a showing of “(1) an agreement, express or implied, among the

 members of the group; (2) a common purpose to be carried out by the group; (3) a community of

 pecuniary interest in that purpose, among the members; and (4) an equal right to a voice in the

 direction of the enterprise, which gives an equal right of control.” Akamai, 797 F.3d at 1023.



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        In order to survive a motion to dismiss for failure to state a claim upon which relief can be

 granted under Rule 12(b)(6), Fed. R. Civ. P., a complaint must contain “sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim

 has facial plausibility when the plaintiff pleads factual content that, if taken as true, “allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Iqbal, 556 U.S. at 678. That standard is not met when a plaintiff provides a “bare averment that

 he wants relief and is entitled to it.” Twombly, 550 U.S. at 555 n.3. On the other hand, “the

 plausibility requirement is not akin to a ‘probability requirement at the pleading stage; it simply

 calls for enough fact[s] to raise a reasonable expectation that discovery will reveal’ that the

 defendant is liable for the misconduct alleged.” Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d

 1372, 1380 (Fed. Cir. 2017) (quoting In re Bill of Lading Transmission & Processing Sys. Patent

 Litig., 681 F.3d 1323, 1341 (Fed. Cir. 2012)).

        PayPal contends that the complaint against it fails to allege sufficient facts under either

 theory of joint infringement, and that the complaint merely asserts in conclusory fashion that

 “PayPal has infringed and continues to infringe[] directly (alone or jointly).” Dkt. No. 9, at 9

 (citing complaint ¶¶ 26, 109, 189). IOENGINE responds that the complaint contains allegations

 that PayPal provides software development kits for PayPal infringing products and instructs and

 encourages customers, Point of Sale Partners (“POS Partners”), and third parties to create

 applications that enable credit or debit card payments using PayPal card readers. Dkt. No. 16, at

 3 (quoting complaint ¶¶ 22, 100, 180, 275). IOENGINE points out that the complaint also contains

 citations to PayPal’s website and to its YouTube video channel, which instruct and encourage end

 users to use PayPal products in an infringing manner. In particular, IOENGINE notes that the



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 complaint alleges that PayPal jointly infringes by “orchestrating the infringing use of the PayPal

 Infringing Products” by PayPal’s POS Partners and their mobile payment applications. Id. at 17

 (citing complaint ¶ 32). PayPal’s relationship with its POS Partners, according to IOENGINE,

 allows a reasonable inference both that PayPal exercises direction or control over its POS Partners

 and that PayPal and its POS Partners are engaged in a joint enterprise with respect to the acts of

 alleged infringement.

        IOENGINE contends that PayPal documentation referred to in the complaint “direct[s]

 third party developers on how to create applications that work with the PayPal Infringing Products

 and . . . control[s] how those partner applications interact with PayPal’s systems.” Id. at 18.

 According to IOENGINE, the ability of PayPal’s POS Partners to interact with the accused PayPal

 products depends on their use of PayPal’s software development kits, which control the

 performance of the steps of the method claims when the PayPal software is run by the POS

 Partners. The PayPal software thus establishes the manner and timing of the performance of the

 claimed method steps by controlling the manner in which the POS Partner interacts with the

 accused PayPal products to carry out the infringing functionality.

        Whether the facts alleged in the complaint will ultimately be determined to be sufficient to

 constitute “direction or control” by PayPal of the activities of the POS Partners, customers, and

 third parties is not at issue at this juncture. The pleaded facts are at least sufficient to plausibly

 assert the required direction or control in light of case law from the Federal Circuit.

        The Federal Circuit’s decisions in Akamai and Travel Sentry, Inc. v. Tropp, 877 F.3d 1370

 (Fed. Cir. 2017), in particular, are instructive here. In Akamai, Limelight was accused of infringing

 a patent on methods of hosting content and delivering it over the Internet. The evidence showed

 that Limelight performed several steps of the claimed methods, and that Limelight’s customers



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 performed at least one of the steps, in which the customers “tagged” and “served” the content to

 be hosted and delivered by Limelight’s content delivery network. The en banc Federal Circuit

 held that substantial evidence supported the jury’s determination that Limelight directed or

 controlled its customers’ performance of the remaining method steps. The court observed that “if

 Limelight’s customers wish to use Limelight’s product, they must tag and serve content.” Akamai,

 797 F.3d at 1024. That statement was based on evidence that “Limelight requires all of its

 customers to sign a standard contract” that “delineates the steps customers must perform if they

 use the Limelight service.” Id. The Federal Circuit did not recite any evidence that Limelight

 categorically enforced the contract, but found that Limelight conditioned receipt of the benefit of

 use of the product based on the contractual promise of the user.

           The Travel Sentry case involved a claim of joint infringement of a patent directed to an

 improvement in airline luggage inspection systems. The evidence showed that the accused

 infringer, Travel Sentry, performed certain steps of the patented method, and that agents of the

 Transportation Security Administration (“TSA”) performed the final two steps. The Federal

 Circuit held that the evidence was sufficient for a reasonable jury to conclude that the TSA agents’

 performance of the final two claim steps was attributable to Travel Sentry. The Court explained

 that “whatever benefits flow to TSA . . . can only be realized if TSA performs the final two claim

 steps.”    877 F.3d at 1382–83.      The court, moreover, reaffirmed the conditioning standard

 articulated in Eli Lilly, stating that conditioning does not require the imposition of a “legal

 obligation” or a “technological prerequisite,” nor does it require verification of compliance or a

 threat of denial of treatment. Id. at 1380 (quoting Eli Lilly, 845 F.3d at 1366–67).

           The decisions in Akamai and Travel Sentry indicate that the evidence may be sufficient to

 support an inference of direction or control when (1) the benefits of a particular service or product



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 can be obtained only if third parties comply with instructions given by the defendant, and (2) the

 instructions direct the third parties to perform acts that constitute recited steps in the asserted

 method claims. The allegations in the complaint are sufficient to support an inference that the

 benefits of the PayPal products can be obtained only if the parties using the products follow the

 directions given by PayPal. As such, those allegations are sufficient to survive PayPal’s motion

 to dismiss IOENGINE’s joint infringement claims.

        As for the allegation of joint enterprise, IOENGINE relies on the references in the

 complaint to the POS Partners as “partners,” and in its response to PayPal’s motion where

 IOENGINE refers to the POS Partners as “collaborators.” The allegations in the complaint,

 according to IOENGINE, allow for a reasonable inference that PayPal and its POS Partners have

 entered into agreements, “have a common purpose and a community of pecuniary interest in that

 purpose” and that both parties participate in the enterprise. Dkt. No. 16, at 20. The Court does

 not agree with IOENGINE that the facts pleaded are sufficient to plausibly assert the existence of

 a joint enterprise in light of the demanding standard set forth by the Federal Circuit in Akamai.

 See Lyda v. CBS Corp., 838 F.3d 1331, 1340 (Fed. Cir. 2016); Progme Corp. v. Comcast Cable

 Commc’ns LLC, Civil Action No. 17-1488, 2017 WL 5070723, at *11 (E.D. Pa. Nov. 3, 2017).

 At minimum, the complaint fails to satisfy the fourth requirement for a joint enterprise set forth by

 the Akamai court—the presence of “an equal right to a voice in the direction of the enterprise,

 which gives an equal right of control.” Akamai, 797 F.3d at 1023. While the “joint enterprise”

 theory is not supported by the complaint, however, the “direction and control” theory is sufficiently

 supported, and the motion to dismiss is therefore denied with regard to the claims of joint

 infringement.




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        B. Indirect Infringement

        PayPal argues that IOENGINE’s complaint does not adequately plead either form of

 indirect infringement—induced infringement or contributory infringement.              PayPal’s first

 argument, with regard to both induced infringement and contributory infringement, is that

 IOENGINE’s allegations cannot support liability on either theory for the period of time before the

 complaint was filed. PayPal argues that the complaint contains no factual allegations from which

 it could plausibly be inferred that PayPal was aware of the asserted patents prior to the filing of

 the complaint in this case. Because indirect infringement requires proof of knowledge of the

 patents assertedly infringed and the acts alleged to constitute infringement, see Toshiba Corp. v.

 Imation Corp., 681 F.3d 1358, 1363 (Fed. Cir. 2012) (induced infringement); Commil USA, LLC

 v. Cisco Sys., Inc., 135 S. Ct. 1920, 1926 (2015) (contributory infringement), PayPal contends that

 the complaint cannot support a claim of pre-suit indirect infringement.

        IOENGINE does not take issue with PayPal’s assertion that the complaint fails to allege

 sufficient facts from which pre-suit knowledge of the patents could plausibly be inferred. The

 Court therefore agrees with PayPal that IOENGINE has failed to adequately plead indirect

 infringement as to PayPal’s activities prior to the service of the complaint in this case. See Evolved

 Wireless, LLC v. Samsung Elecs. Co., No. 15-545, 2016 WL 1019667, at *6 (D. Del. Mar. 15,

 2016), report and recommendation adopted, 2016 WL 1381765 (D. Del. Apr. 6, 2016).

        As to PayPal’s post-suit activities, however, knowledge of the patents was clearly

 conveyed to PayPal by the service of the complaint. 1 Moreover, the complaint alleges that since



        1
            Typically, the issue of post-suit knowledge of a patent arises when an amended complaint
 is filed, so that the allegations of knowledge and continuing infringement refer, at minimum, to
 the period between the filing of the original complaint and the filing of the amended complaint.
 In this case, there is no suggestion that the alleged infringement ended at the time the complaint
 was filed, and it is undisputed that the defendants became aware of the asserted patents no later
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 receiving notice of the complaint, PayPal has “knowingly” infringed each of the patents, has

 “knowingly contributed to the infringement of and induced infringement of” those patents, and has

 done so “with specific intent that the PayPal Infringing Products be used by its customers, Point

 of Sale Partners, and third parties to directly infringe” the patents. See Dkt. No. 1, at ¶¶ 98, 178,

 273. Those allegations, in conjunction with the detailed allegations of direct infringement by the

 defendants, are sufficient to satisfy the knowledge requirement for contributory infringement, as

 well as the specific intent requirement for induced infringement. See Nalco Co. v. Chem-Mod,

 LLC, 883 F.3d 1337, 1355–57 (Fed. Cir. 2018); Telecomm Innovations, LLC v. Ricoh Co., 966 F.

 Supp. 2d 390, 393 (D. Del. 2013) (“For a post-complaint claim of induced infringement to pass

 muster under Federal Rule of Civil Procedure 8, plaintiff need only identify the patent-at-issue,

 the allegedly infringing conduct, the notice afforded by service of the original complaint, and the

 apparent decision to continue the inducement post-service.”); E.I Du Pont de Nemours & Co. v.

 Heraeus Holding GmbH, No. 11-773, 2012 WL 4511258, at *6 (D. Del. Sept. 28, 2012). As to

 the post-suit period, PayPal does not contest the issue of knowledge and barely mentions the issue

 of specific intent. Instead, it contends that induced infringement and contributory infringement

 were not adequately pleaded for other reasons, discussed below.

                1. Post-Suit Induced Infringement

        With regard to the allegations of induced infringement as applied to the post-suit period,

 PayPal asserts that the complaint fails to recite “culpable conduct, directed to encouraging

 another’s infringement.” Dkt. No. 9, at 11 (quoting Princeton Digital Image Corp. v. Ubisoft

 Entm’t SA, No. 13-335, 2016 WL 6594076, at *4 (D. Del. Nov. 4, 2016). In fact, the opposite is



 than the date of service of the complaint. The Court sees no purpose that would be served by the
 formality of requiring IOENGINE to file an amended complaint in order to be allowed to assert
 knowledge of the patents during the period following the filing of the original complaint.
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  true. The complaint contains detailed allegations regarding PayPal’s acts of inducement. See Dkt.

  No. 1, at ¶¶ 22, 99–105, 179–85, 274–80. PayPal itself quotes some of those allegations:

  “Defendant instructs and encourages its customers, Point of Sale Partners, and third parties to use

  the PayPal Infringing Products in a manner that infringes” the asserted patents, and that “the

  information and materials provided by PayPal contain detailed descriptions and instructions for

  using and implementing the functionality claimed” in the asserted patents. Dkt. No. 9, at 11–12.

  PayPal’s response to those allegations is to say that they are “unsubstantiated conclusions.” Dkt.

  No. 9, at 11.

         The Court is satisfied that the allegations in the complaint are both factual (not

  “conclusions,” as PayPal asserts) and sufficient to state claims of induced infringement with

  respect to PayPal’s post-suit activities. The complaint contains detailed references to the directions

  given by PayPal to its POS Partners and customers as to how to implement its software. Those

  references allege that PayPal provides software development kits that instruct and encourage the

  use of the infringing products, instructional support on its website, information and technical

  support on third-party platforms, and video instruction on PayPal’s YouTube channel. See Dkt.

  No. 1, at ¶¶ 22, 99–105, 179–85, 274–80. Those references are amply sufficient to allege that

  PayPal instructs and encourages others to use the PayPal products in a manner that infringes.

  PayPal’s response that those detailed allegations are “unsubstantiated” ignores the difference

  between allegations and proof. 2

                  2. Post-Suit Contributory Infringement



         2
            PayPal relies on McRo, Inc. v. Rockstar Games, Inc., Civil Action No. 12-1513, 2014
  WL 1051527, at *6 (D. Del. Mar. 17, 2014), for the proposition that allegations of encouragement
  of direct infringers are insufficient in the absence of allegations that the activities that are
  encouraged constitute infringement. In this case, unlike in McRo, the complaint contains detailed
  allegations of infringement by the parties who are allegedly induced by PayPal.
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         With regard to the allegations of post-suit contributory infringement, PayPal acknowledges

  that the complaint alleges that PayPal’s accused products “are not staple articles or commodities

  of commerce suitable for substantial non-infringing use.” Id. at 14 (citing complaint ¶¶ 98, 178,

  273; see also ¶¶ 26, 109, 189). But PayPal contends that those allegations are insufficient.

  According to PayPal, the complaint fails to recite facts that plausibly show that the accused

  products and components have no substantial non-infringing uses. Id.

         It is true that the burden of proof as to the absence of substantial non-infringing uses falls

  on the plaintiff. See Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354, 1363 (Fed.

  Cir. 2006); MONEC Holding AG v. Motorola Mobility, Inc., 897 F. Supp. 2d 225, 231 (D. Del.

  2012). But that does not mean the complaint must recite particular factual evidence showing that

  the accused products have no substantial non-infringing uses. PayPal’s argument would suggest

  that IOENGINE’s complaint should have contained evidence to prove a negative—that the

  accused products were not staple goods or usable for non-infringing purposes—something that by

  its nature would be difficult to do. As has been noted, to require the plaintiff to do more than to

  plead the absence of substantial non-infringing uses would require the plaintiff “to plead a null set

  under the plausibility standard of Twombly and Iqbal—that it is impossible to plead with specificity

  something that does not exist.” Merck Sharp & Dohme Corp. v. Teva Pharms. USA, Inc., Civil

  Action No. 14-874, 2015 WL 4036951, at * 7 (D. Del. July 1, 2015) (quoting Driessen v. Sony

  Music Entm’t, No. 2:09-cv-140, 2013 WL 4501063, at *2 (D. Utah Aug. 22, 2013)).

         In addition to the court in the Merck case, other courts in this district have also held that

  simply pleading the absence of substantial non-infringing uses is normally sufficient to satisfy the

  pleading requirement for that element of contributory infringement. See Univ. of Mass. Med. Sch.

  v. L’Oreal S.A., Civil Action No. 17-868, 2018 WL 5919745, at *8 (D. Del. Nov. 13, 2018)



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  (“affirmatively pleading the absence of substantial non-infringing uses renders the claim plausible

  if the pleadings do not undermine that allegation”); Rhodes Pharms. L.P. v. Indivior, Inc., Civil

  Action No. 16-1308, 2018 WL 326405, at *9 (D. Del. Jan. 8, 2018) (“A simple allegation that the

  product at issue is not suitable for substantial non-infringing use is generally sufficient to satisfy

  the pleading requirements of Twombly and Iqbal.”); Courtesy Prods., L.L.C. v. Hamilton Beach

  Brands, 73 F. Supp. 3d 435, 441 (D. Del. 2014) (“Courtesy’s summary statements for induced and

  contributory infringement are facially plausible and provide Hamilton notice of the indirect

  infringement claims.”); Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del.

  2012) (sufficient for “non-infringing use” element to plead that the accused products “are not staple

  articles or commodities of commerce suitable for substantial noninfringing use and are especially

  made and /or adapted for use in infringing” the patent). 3

         In support of its argument that the pleading as to the substantial non-infringing use element

  of contributory infringement was insufficient, PayPal cites the decision in Koninklijke Philips N.V.

  v. ASUSTeK, Civil Action No. 15-1125, 2016 WL 6246763 (D. Del. Oct. 25, 2016), which held

  that the plaintiff’s complaint was insufficient when it “fail[ed] to plead any facts supporting the

  conclusory statement that the Accused Devices ‘are not stable articles or commodities of

  commerce suitable for substantial, non-infringing use.” Id. at *4. It is possible to distinguish that

  case on the ground that in this case the detailed allegations in the complaint regarding the PayPal

  products, which were specially adapted for use in an infringing manner, were sufficient to provide

  factual support for the allegation that the products do not have any substantial non-infringing uses.



         3
            PayPal relies on the Federal Circuit’s decision in In re Bill of Lading Transmission and
  Processing Sys. Patent Litig., 681 F.3d 1323 (Fed. Cir. 2012). In that case, however, the complaint
  actually acknowledged that there were non-infringing uses for the accused product, and the court
  based its decision on its rejection of the plaintiff’s legally incorrect theory as to the meaning of the
  requirement that the product in question have no non-infringing uses. 681 F.3d at 1337–38.
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  Even apart from any such distinction of the Philips case, however, the Court is persuaded to follow

  the rulings of the numerous cases in this district cited above, and to conclude that the allegations

  that the accused products had no substantial non-infringing uses were sufficient to survive a motion

  to dismiss.

         PayPal makes a one-sentence argument (Dkt. 9, at 14) that the contributory infringement

  allegations should be dismissed because the complaint “fails to adequately allege specific intent to

  infringe.” There are two problems with that argument. First, as noted above, the complaint

  contains allegations of specific intent with regard to the claims of indirect infringement generally,

  and those allegations are sufficient to avoid dismissal with respect to the post-suit acts of indirect

  infringement. Second, it is well settled that for contributory infringement, unlike for induced

  infringement, proof of specific intent is not required. See Lifetime Indus., Inc. v. Trim-Lok, Inc.,

  869 F.3d 1372, 1379, 1381 (Fed. Cir. 2017) (specific intent required for inducement, but not for

  contributory infringement: “contributory infringement requires ‘only proof of a defendant’s

  knowledge, not intent, that his activity cause[s] infringement’”) (quoting Hewlett-Packard Co. v.

  Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir. 1990)); see also Nalco, 883 F.3d at 1356-57.

  The factual allegations in the complaint were plainly sufficient to show PayPal’s knowledge of the

  patents and that others were infringing them.

         There is a more fundamental problem with the contributory infringement allegations,

  however. The complaint fails to plead any facts showing what particular conduct by PayPal

  contributed to the infringement of the patents by others.          The allegations of contributory

  infringement, unlike the allegations of induced infringement, are devoid of factual support, and

  consist of no more than recitations of the elements of the cause of action. See Dkt. No. 1, at ¶ 98,

  178, 273 (“Defendant has knowingly contributed to the infringement of . . . and continues to



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  knowingly contribute to the infringement of . . . one or more claims of the [asserted patents] with

  specific intent” that others would directly infringe the patents by making and using products that

  “constitute a material part of the invention and are not staple articles or commodities of commerce

  suitable for substantial non-infringing use.”).

         At that level of generality, the allegations of contributory infringement make it impossible

  “to determine whether [the plaintiff’s] claims of contributory infringement were in fact plausible.”

  In re Bill of Lading, 681 F.3d at 1337. The complaint does not state how PayPal contributes to the

  infringement of the asserted patents. Unlike in the case of the allegations of induced infringement,

  the complaint does not identify any particular conduct by PayPal that contributes to the direct

  infringement by others, or how it does so. The contributory infringement allegations are thus

  barebones allegations—what the Supreme Court in Iqbal called “[t]hreadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements,” 556 U.S. at 678, that

  provide PayPal no notice of anything more than that IOENGINE has asserted a claim of

  contributory infringement against it.

         It may be that in light of the other allegations in the complaint, relatively little would need

  to be added to satisfy the pleading standard set forth by the Supreme Court in Twombly and Iqbal.

  But it is clear that more is required. As things now stand, there is no discernible difference between

  the contributory infringement pleadings in IOENGINE’s complaint and an unelaborated recitation

  of the elements of the cause of action. See Iqbal, 556 U.S. at 678 (“A pleading that offers ‘labels

  and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”)

  (quoting Twombly, 550 U.S. at 555).

         Because the allegations in the complaint with regard to PayPal’s post-suit activities are

  sufficient to state a claim for induced infringement, but not for contributory infringement, the



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  motion to dismiss the indirect infringement claims will be denied as to the induced infringement

  allegations, but granted as to the allegations of contributory infringement.

         C. Willful Infringement

         Finally, PayPal argues that the complaint fails to allege sufficient facts to support

  IOENGINE’s claim that PayPal has been guilty of willful infringement. PayPal makes two

  arguments: that it lacked pre-suit knowledge of the patents and therefore cannot be held to have

  acted willfully during the pre-suit period; and that the complaint contains no factual allegations

  that, if accepted as true, would show sufficiently egregious conduct to support a finding of willful

  infringement.

         As to the pre-suit issue—the same issue discussed earlier with regard to indirect

  infringement—the Court concludes that the allegations in the complaint do not support a finding

  of willfulness, which requires knowledge by the accused infringer that its conduct infringes.

  WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016); see BlackBerry Ltd. v. Nokia

  Corp., Civil Action No. 17-cv-155, 2018 WL 1401330, at *3–4 (D. Del. Mar. 20, 2018); Evolved

  Wireless, 2016 WL 1019667, at *4; Princeton Dig. Image Corp., 2016 WL 6594076, at *11. With

  respect to the allegations of post-suit willfulness, knowledge is a given and the question is whether

  the complaint must allege additional facts, beyond knowledge of the patent and continuing

  infringement despite that knowledge, from which a finder of fact could conclude that the accused

  infringer’s conduct was sufficiently egregious to support a willfulness finding. 4



         4
             In a footnote in its reply brief, Dkt. No. 19, at 9 n.2, PayPal argues that the Federal
  Circuit’s decision in Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275 (Fed. Cir. 2017),
  stands for the proposition that allegations of pre-suit conduct are necessary to state a claim of
  willful infringement. The Court does not interpret Mentor Graphics that way. The passage on
  which PayPal relies simply states that the date for distinguishing between pre-suit and post-suit
  conduct is the date of the patentee’s affirmative allegation of infringement. 851 F.3d at 1295. In
  this case, that date was the date of IOENGINE’s complaint. Given that PayPal had notice of the
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         The Court concludes that there is no requirement that the plaintiff plead additional facts,

  beyond knowledge of the patent or patents, in order for a claim of willful infringement to survive

  a motion to dismiss. Since the Supreme Court’s decision in Halo Elecs., Inc. v. Pulse Elecs., Inc.,

  136 S. Ct. 1923 (2016), courts in this district have held that it is not necessary for the plaintiff to

  plead that the defendant has engaged in some form of egregious conduct in order to avoid dismissal

  on the pleadings. See KOM Software Inc. v. NetApp, Inc., Civil Action No. 1:18-cv-160, 2018 WL

  6167978, at *3 (D. Del. Nov. 26, 2018); Univ. of Mass. Med. Sch. v. L’Oreal S.A., Civil Action

  No. 17-868, 2018 WL 5919745, at *8 (D. Del. Nov. 13, 2018); BioMérieux, S.A. v. Hologic, Inc.,

  Civil Action No. 18-21, 2018 WL 4603267, at *6 (D. Del. Sept. 25, 2018); Align Tech., Inc. v.

  3Shape A/S, 339 F. Supp. 3d 435, 448 (D. Del. 2018); Genedics, LLC v. Meta Co., Civil Action

  No. 17-1062, 2018 WL 3991474, at *15 (D. Del. Aug. 21, 2018); Välinge Innovation AB v.

  Halstead New England Corp., 2018 WL 2411218, at *6 (D. Del. May 29, 2018); Blackberry Ltd.,

  2018 WL 1401330, at *3; Kyowa Hakka Bio, Co. v. Ajinomoto Co., Civil Action No. 17-313, 2018

  WL 834583, at *13 (D. Del. Feb. 12, 2018); Shire ViroPharma Inc. v. CSL Behring LLC, Civil

  Action No. 17-414, 2018 WL 326406, at *3 (D. Del. Jan. 8, 2018); Rhodes Pharms. L.P. v.

  Indivior, Inc., Civil Action No. 16-1308, 2018 WL 326405, at *9 (D. Del. Jan. 8, 2018); Bayer

  Healthcare, LLC v. Baxalta, Inc., Civil Action No. 16-1122, 2017 U.S. Dist. LEXIS 126904, at *3

  (D. Del. Aug. 10, 2017); Bio-Rad Labs. Inc. v. Thermo Fisher Scientific Inc., 267 F. Supp. 3d 499,

  501 (D. Del. 2017); DermaFocus LLC v. Ultera, Inc., 201 F. Supp. 3d 465, 473 (D. Del. 2016). 5



  patents and the allegations of the infringement as of that date, there is no reason it should not be
  answerable for willful infringement after that date if IOENGINE can prove the requisite level of
  culpable behavior during the post-suit period. See Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.
  Ct. 1923, 1932 (2016).
          5
             PayPal cites only one post-Halo decision from this district holding that it was necessary
  to plead egregious conduct in order to survive a motion to dismiss a willfulness claim, Varian Med.
  Sys., Inc. v. Elekta AB, Civil Action No. 15-871, 2016 WL 3748772, at *8 (D. Del. July 12, 2016).
                                                    16
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          The facts bearing on willfulness are likely to be, in large measure, in the possession of the

  defendant and available to the plaintiff only through discovery. If discovery fails to produce facts

  that would support a finding of willfulness, the defendant can seek to have the willfulness

  allegations dismissed on summary judgment. For pleading purposes, however, the Court is

  satisfied that IOENGINE has made sufficient allegations of willfulness as to the post-suit period.

  The Court therefore denies PayPal’s motion to dismiss IOENGINE’s allegations that PayPal

  willfully infringed the asserted patents.

                             II. INGENICO’S MOTION TO DISMISS

          One of the counterclaim defendants, Ingenico Group S.A. (referred to herein as “Ingenico

  France”), is a French corporation, which maintains its principal place of business in France.

  Counterclaim defendant Ingenico Corp. is a Georgia corporation; it is a holding company that is a

  wholly owned U.S. subsidiary of Ingenico France. Counterclaim defendant Ingenico Inc. is a

  Delaware corporation; it is an operating company that is a wholly owned subsidiary of Ingenico

  Corp.

          The Ingenico defendants have moved to dismiss the complaint on two grounds: (1) under

  Fed. R. Civ. P. 12(b)(2), they contend that the Court lacks personal jurisdiction over Ingenico

  France; and (2) they contend that IOENGINE’s counterclaims lump the three Ingenico defendants

  together, without distinguishing among them as to the allegedly infringing conduct, thus depriving

  each of them of notice as to what they are specifically charged with. A third issue, involving the

  adequacy of the service on Ingenico France, has been resolved.




  The author of the opinion in that case has since stated that he now believes that there should be no
  such requirement in order to successfully plead willfulness. See Välinge, 2018 WL 2411218, at
  *6.
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            A. Jurisdiction as to Ingenico France

            The Ingenico defendants concede that the Court has personal jurisdiction over Ingenico

  Corp. and Ingenico Inc. They contend, however, that personal jurisdiction is lacking as to Ingenico

  France.

                   1. Background

            The defendants argue that Ingenico France has no significant contacts with the forum and

  thus the forum lacks general jurisdiction over Ingenico France. IOENGINE does not contest the

  defendants’ assertion that general jurisdiction is lacking, but contends that the facts support the

  Court’s exercise of specific jurisdiction over Ingenico France. In particular, IOENGINE argues

  that the Court has jurisdiction over Ingenico France under an agency theory. See Celgard, LLC v.

  SK Innovation Co., 792 F.3d 1373, 1379 (Fed. Cir. 2015); Phoenix Canada Oil Co. v. Texaco, Inc.,

  842 F.2d 1466, 1477 (3d Cir. 1988); Rovi Corp. v. Haier Grp. Corp., Civil Action No. 11-1140,

  2013 WL 4534641, at *3 (D. Del. Aug. 23, 2013); Applied Biosystems, Inc. v. Cruachem, Ltd.,

  772 F. Supp. 1458, 1463 (D. Del. Sept. 6, 1991); Sears, Roebuck & Co. v. Sears plc, 744 F. Supp.

  1297, 1305 (D. Del. 1990). IOENGINE argues that Ingenico France’s U.S. subsidiaries are agents

  of Ingenico France, and that the Court can therefore exercise in personam jurisdiction over

  Ingenico France.

            IOENGINE points to a number of facts in support of its contention that there is a close

  relationship among the related corporations, from which an agency relationship can be inferred.

  IOENGINE points out that in the Registration Documents filed with French regulators, Ingenico

  France uses the term “Ingenico Group” to refer to the group consisting of Ingenico France and all

  of its subsidiaries, including Ingenico Inc. and Ingenico Corp. Throughout those documents and

  elsewhere, Ingenico France describes the business of the Ingenico Group as a single unified



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  enterprise. No. 1:18-cv-826, Dkt. No. 33, at 3–4. IOENGINE further asserts that the leadership

  of Ingenico France “is intimately intertwined with that of Ingenico Corp. and Ingenico Inc.”: The

  Chairman and Chief Executive Officer of Ingenico France served on the Board of Ingenico Inc.

  and recently served as the Chief Executive Officer and Chief Financial Officer of Ingenico Corp.

  In addition, the current Chief Executive Officer of both Ingenico Corp. and Ingenico Inc. also

  serves as an Executive Vice President for Ingenico France. Ingenico France’s current Executive

  Vice President for North America works at Ingenico Inc. in Atlanta and oversees the Ingenico

  Group’s North American operations. Ingenico France’s Chief Financial Officer sits on the Board

  of Ingenico Corp. and Ingenico Inc. And each of those individuals serves on the Executive

  Committee of the Ingenico Group. Id. at 5–6.

          IOENGINE further alleges that Ingenico France controls the supply chain for the accused

  products, from their manufacture to their eventual sale, and coordinates the global marketing of

  the products. Id. at 6–7. Moreover, IOENGINE asserts that Ingenico France compiles and reports

  consolidated financial statements for all operations within the Ingenico Group and that Ingenico

  France “controls the day-to-day operation of its subsidiaries by directly evaluating the financial

  performance of individual subsidiaries and setting targets,” and “oversees hiring activities of all

  group members through its policies for hiring, training, and career development for all employees.”

  Id. at 7–9.

          In challenging the Court’s jurisdiction over Ingenico France, the Ingenico defendants have

  recited a list of factors that they contend show that Ingenico France’s U.S. subsidiaries are

  independent of, and not agents of, Ingenico France. They assert that Ingenico France and its U.S.

  subsidiaries maintain their own books and records and prepare their own financial statements; each

  entity, they note, is responsible for its own business activity, revenue, hiring, payroll, and budget.



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  Dkt. No. 27, at 3. Although the defendants acknowledge that Ingenico France supervises the

  business of Ingenico Inc. through financial reporting and Ingenico Inc.’s issuance of periodic

  management reports detailing its activities, they contend that Ingenico France does not direct, or

  have the authority to direct, the day-to-day operations of its U.S. subsidiaries. Id. The defendants

  represent that no members of Ingenico France’s board of directors sit on the boards of the U.S.

  subsidiaries and only one officer of Ingenico France sits on the boards of those subsidiaries. Id.

  Finally, the defendants note that the subsidiaries maintain their own offices and their own

  production, research, sales, and distribution facilities in the United States, which are separate from

  the operations of Ingenico France. Id.

                  2. Legal Standards

           When personal jurisdiction is disputed at the pleading stage, and in the absence of

  jurisdictional discovery, the plaintiff must make a prima facie showing that the court has personal

  jurisdiction in order to defeat a motion to dismiss. See Nuance Commc’ns, Inc. v. Abbyy Software

  House, 626 F.3d 1222, 1231 (Fed. Cir. 2010). Such a showing requires that the plaintiff establish

  that jurisdiction exists “with reasonable particularity,” Nespresso USA, Inc. v. Ethical Coffee Co.

  SA, 263 F. Supp. 3d 498, 502 (D. Del. 2017); in assessing the strength of the plaintiff’s showing,

  the court will accept the uncontroverted allegations in the complaint as true and resolve any factual

  conflicts in the plaintiff’s favor. Elecs. For Imaging, Inc. v. Coyle, 340 F.3d 1344, 1349 (Fed. Cir.

  2003).

           In cases in which in personam jurisdiction is challenged, the Third Circuit has held that

  jurisdictional discovery should be “freely permitted.” Renner v. Lanard Toys Ltd., 33 F.3d 277,




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  283 (3d Cir. 1994). 6 While jurisdictional discovery is not automatically granted and generally

  requires some evidence supporting the existence of personal jurisdiction, see Hansen v.

  Neumueller GmbH, 163 F.R.D. 471, 473, (D. Del. 1995), the Third Circuit has held that

  jurisdictional discovery should be permitted if the plaintiff’s jurisdictional allegations are not

  “clearly frivolous.” Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003); Mass.

  School of Law at Andover, Inc. v. Am. Bar Ass’n, 107 F.3d 1026, 1042 (3d Cir. 1997); Compagnie

  des Bauxites de Guinee v. L’Union Atlantique S.A. D’Assurances, 723 F.2d 357, 362 (3d Cir.

  1983); see also Pfizer Inc. v. Mylan Inc., 201 F. Supp. 3d 483, 490 (D. Del. 2016).

         In order to establish in personam jurisdiction on an agency theory as to a corporate parent

  of a subsidiary over which the court has jurisdiction, the plaintiff must show more than the normal

  relationship between a parent and subsidiary. As the Supreme Court has noted, “It is a general

  principle of corporate law deeply ingrained in our economic and legal systems that a parent

  corporation (so-called because of control through ownership of another corporation’s stock) is not

  liable for the acts of its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61 (1998) (quotation

  omitted). Parent corporations frequently exercise financial supervision over their subsidiaries, and

  there is often some overlap in management personnel and some general policy guidance exercised

  by the parent over the subsidiary. The presence of those factors is typically insufficient to convert

  the subsidiary into an agent of the parent for purposes of exercising in personam jurisdiction over

  the parent. See Nespresso, 263 F. Supp. 3d at 505; Energy Marine Servs., Inc. v. DB Mobility

  Logistics AG, No. 15-24, 2016 WL 284432, at *4 (D. Del. Jan. 22, 2016). The question for the



         6
            Although the Federal Circuit has held that jurisdictional issues in patent cases are to be
  decided in accordance with Federal Circuit law, it has held that the question whether jurisdictional
  discovery should be allowed is governed by regional circuit law, which in this case is the law of
  the Third Circuit. Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d 1012, 1016, 1021 (Fed.
  Cir. 2009).
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  court to resolve in such cases is whether the relationship between the parent and the subsidiary is

  closer than is typically the case, such that the control over and direction of the subsidiary’s

  activities by the parent, at least with respect to the transaction at issue, is sufficient to render the

  relationship one of principal and agent.

                 3. Application of Legal Standards to This Case

         As noted, several of the factors that IOENGINE has recited in response to the motion to

  dismiss the claims against Ingenico France are commonplace in relationships between parent and

  subsidiary corporations, such as financial supervision by the parent and some overlap in

  management personnel and directors. Those factors are not sufficient, standing alone, to create an

  agency relationship between Ingenico France and its U.S. subsidiaries or to indicate that Ingenico

  France is directly responsible for the acts of alleged infringement in its own right. See Telcordia

  Techs., Inc. v. Alcatel S.A., No. 04-874, 2005 WL 1268061, at *3 (D. Del. May 27, 2005) (“minor

  overlap” in the governing personnel of the corporations “may not serve to expose the parent

  corporation to liability for its subsidiary’s acts”).     The Court also attaches little weight to

  statements made by Ingenico France in its Registration Documents, in which it referred to the

  parent corporation and the subsidiaries collectively as the Ingenico Group and repeatedly referred

  to the activities of the Ingenico family of corporations collectively, as activities of the Ingenico

  Group. Again, that mode of characterizing a related group of companies is common, even when

  the companies maintain a separate legal status and are not deemed to be in a principal-agent

  relationship. See MacQueen v. Union Carbide Corp., No. 13-831, 2014 WL 6809811, at * 7 (D.

  Del. Dec. 3, 2014); see also In re Chocolate Confectionary Antitrust Litig., 602 F. Supp. 2d 538,

  570–71 (M.D. Pa. 2009); Action Mfg. Co. v. Simon Wrecking Co., 375 F. Supp. 2d 411, 423–24

  (E.D. Pa. 2005).



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         IOENGINE’s jurisdictional allegations, however, go farther than that. IOENGINE asserts

  that Ingenico France exercises close supervisory control over the day-to-day operations of its U.S.

  operating company, Ingenico Inc., including involvement in contracting for the assembly of the

  accused products. Dkt. No. 33, at 15. 7 While the evidence at this stage is not sufficient to justify

  a conclusion that the Court may exercise in personam jurisdiction over Ingenico France, the Court

  is persuaded that IOENGINE’s jurisdictional claim is not “clearly frivolous,” and that IOENGINE

  should therefore be granted the opportunity to take discovery in support of its jurisdictional

  argument. See Pfizer Inc., 201 F. Supp. 3d at 490 (“Plaintiffs have not produced information that

  Mylan Inc. and Mylan N.V. directed MLL’s action. However, more information regarding Mylan

  Inc.’s and Mylan N.V.’s role could provide the necessary evidence, and plaintiffs have

  demonstrated that the allegations are not ‘clearly frivolous.’”).

         Accordingly, IOENGINE will be permitted to take discovery on the issue of in personam

  jurisdiction as to Ingenico France. That discovery should be narrowly tailored to the jurisdictional

  issue by focusing on the degree of control exercised by Ingenico France over its U.S. subsidiaries,

  Ingenico Corp. and Ingenico Inc., both in general and with respect to the conduct at issue in this

  case, and on any involvement by Ingenico France in the acts of alleged infringement.

         Jurisdictional discovery will close on June 3, 2019. Thereafter, the defendants may renew

  their motion to dismiss Ingenico France as a defendant, by so advising the Court by June 10, 2019,




         7
            That assertion is subject to question, as the supporting evidence in IOENGINE’s brief
  appears to refer to “Ingenico Group” (the term used for the collective group of Ingenico
  corporations) rather than Ingenico Group S.A., i.e., Ingenico France. See Dkt. No. 34-1, at 5, 22,
  29. However, at the December 17, 2018, hearing and in a supplemental filing submitted
  subsequently, IOENGINE pointed to additional evidence that, characterized generally, suggests
  that Ingenico France is significantly involved in the creation of the accused products that are
  marketed by the U.S. operating subsidiary. That evidence is subject to the Court’s protective order,
  so the Court will not describe it in detail.
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  of their intention to do so. IOENGINE will then be allowed to supplement its response to the

  defendants’ motion to dismiss Ingenico France. That supplemental response will be no more than

  15 pages in length and will be due for filing by June 17, 2019. The defendants will be permitted

  to file a reply to that supplemental response, no more than 15 pages in length, within 14 days of

  the filing of IOENGINE’s supplemental response.

         B. Failure to Distinguish Among the Defendants

         Ingenico argues that the counterclaims “lump” the three counterclaim defendants together

  and fail to distinguish among them with regard to the particular infringing actions committed by

  each. As a result, Ingenico argues, the defendants are denied notice as to the particular acts each

  is alleged to have committed as part of the charged infringement. IOENGINE argues that the

  counterclaims, which allege that the defendants have committed each of the infringing acts

  “individually and collectively,” provides sufficient notice to survive a motion to dismiss.

         The counterclaims allege that each of the defendants is responsible for each of the alleged

  infringing acts. Courts in this district have held that to be sufficient to avoid a dismissal. As Chief

  Judge Stark wrote recently in rejecting an argument similar to Ingenico’s, “[the plaintiff] is

  alleging that both of the Defendants did everything. . . . The allegations must at this stage, be taken

  as true. Time will tell if the plaintiff can prove them.” Align Tech., Inc. v. 3Shape A/S, 339 F.

  Supp. 3d 435, 447 (D. Del. 2018); see also Groove Digital, Inc. v. King.com, Ltd., Civil Action

  No. 1:18-cv-836, 2018 WL 6168615, at *1 (D. Del. Nov. 26, 2018) (“[A] complaint that

  collectively refers to defendants meets Rule 8’s pleading standard if ‘it can be reasonably inferred

  that each and every allegation is made against each individual defendant.’”) (quoting Zond, Inc. v.

  Fujitsu Semiconductor Ltd., 990 F. Supp. 2d 50, 53–54 (D. Mass. 2014)). In this case, the

  counterclaims, which allege that the defendants “individually and collectively” committed each of



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  the accused infringing acts, effectively allege that the defendants all “did everything,” as was the

  case in the Align and Groove Digital cases.

         Ingenico relies on a separate line of cases in which courts in this district have dismissed

  complaints when the plaintiff “failed to identify which entity is responsible for any particular

  alleged infringing activity,” N. Star Innovations, Inc. v. Toshiba Corp., Civil Action No. 16-115,

  2016 WL 7107230, at *2 (D. Del. Dec. 6, 2016), and when the plaintiff did not “identify which

  particular defendant or defendants are responsible for which allegedly infringing products, process

  or method,” M2M Solutions LLC v. Telit Commc’ns PLC, Civil Action No. 14-1103, 2015 WL

  4640400, at *3 (D. Del. Aug. 5, 2015). See also Promos Techs., Inc. v. Samsung Elecs. Co., Civil

  Action No. 18-307, 2018 WL 5630585, at *3 (D. Del. Oct. 31, 2018) (a complaint may be

  structured to refer to all named defendants collectively within a count, but to do so, “a Count must

  incorporate previous allegations of the Complaint identifying the specific infringing acts of the

  individual defendants”); T-Jat Sys. 2006 Ltd. v. Expedia, Inc., Civil Action No. 16-581, 2017 WL

  896988, at *7 (D. Del. Mar. 7, 2017) (“T-Jat does not incorporate preceding paragraphs in its

  allegations against Defendants” and the complaint fails to “clarify that each defendant committed

  at least one infringing act.”); Mayne Pharma Int’l PTY Ltd. v. Merck & Co., Civil Action No. 15-

  438, 2015 WL 7833206, at *4 (D. Del. Dec. 3, 2015) (complaint against foreign subsidiary of two

  other defendants held insufficient, because an allegation that the foreign subsidiary

  “manufactured” the accused product is not an allegation of infringement in this country); Neology,

  Inc. v. Kapsch Trafficom IVHS, Inc., Civil Action No. 13-2052, 2014 WL 4675316, at *4 (D. Del.

  Sept. 19, 2014) (complaint insufficient to plead pre-suit knowledge of the asserted patents by

  making a “blanket reference to all ‘Defendants’ generically as having ‘indirectly infringed the




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  [Asserted Patents] by actively and intentionally inducing their customers to infringe the [Asserted

  Patents.]’”).

           There is some tension between these two lines of cases. Several of the cases can be

  reconciled based on factual distinctions between them. Besides alleging that the three Ingenico

  defendants committed each of the alleged infringing acts “individually and collectively,” Dkt. No.

  12, at ¶ 279, the counterclaims also set forth the parent and subsidiary relationships among the

  three defendants. Id. at ¶¶ 276–78. Based on that relationship, it is clear that IOENGINE’s

  allegations of individual and collective liability for all three defendants are predicated at least in

  part an agency theory, the same agency theory on which IOENGINE bases its assertion that this

  Court has in personam jurisdiction over Ingenico France.              The fact that IOENGINE’s

  counterclaims pleaded that the defendants were each individually liable for all of the alleged

  infringement distinguishes the T-Jat and Neology cases, and the fact that the foreign corporation

  in Mayne was a subsidiary of the domestic corporations, while the foreign corporation in this case

  was the parent—and thus more amenable to possible liability on an agency theory—is sufficient

  to distinguish the Mayne case. With that said, however, there remains what appears to be a split

  of authority among several decisions in this jurisdiction—the Align and Groove Digital cases on

  one side and the North Star Innovations, M2M Solutions, and Promo Technologies cases on the

  other. The Court concludes that, on the facts of this case, the recent decisions in the Align and

  Groove Digital cases are more persuasive. The Court therefore denies the Ingenico defendants’

  motion to dismiss based on their contention that the counterclaims failed to distinguish among the

  defendants with respect to the allegations of infringement.




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        IT IS SO ORDERED.

        SIGNED this 25th day of January, 2019.




                                           _____________________________
                                           WILLIAM C. BRYSON
                                           UNITED STATES CIRCUIT JUDGE




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